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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
In Re: Case No.: 23-11557-LMI
Iris Slotkin, Chapter 13
Debtor.
/
WITNESS LIST
1. Iris Slotkin
2. Katherine Estevez
3. Roger Slotkin

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the WITNESS LIST

was mailed this lst. day of March , 2024 to: all registered users of ECF via NEF, via emaj
to:BSB@BGgLaw.Com, and Debtor in the instant case via first class mil.

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